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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND
                                     Southern Division

KIM JOHNSON-HOWARD                                  :
                                                    :
                  Plaintiff,                        :
                                                    :
v.                                                  :       Case No. 8:19-CV-00614-JRR
                                                    :
AECOM SPECIAL MISSIONS                              :
SERVICES, INC. et al.                               :
                                                    :
                  Defendants.                       :
                                                    :

                                 FINAL DISMISSAL ORDER

        CAME THIS DAY the parties, by undersigned Counsel, and jointly request pursuant to

Federal Rule of Civil Procedure 41(a)(2) that the matter be dismissed with prejudice, as the

parties have reached a settlement in the matter, with each party bearing their own costs and

fees, It is hereby:

        ADJUDGED, ORDERED, and DECREED that this action in its entirety is dismissed

with prejudice.

        The Clerk is directed to provide a certified copy of this Order, following entry, to all

counsel of record herein.




DATE: March 18, 2024




                                            /s/
                                     _________________________________
                                      Julie R. Rubin
                                      United States District Judge
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                     Respectfully submitted,

                     KOONZ MCKENNEY JOHNSON & DEPAOLIS LLP

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of March, 2024 a copy of the foregoing was

filed and served through the Court’s CM/ECF system, pursuant to Fed. R. Civ. P. 5(b)(2)(E) and

LCvR 102(1)(c) to the following:

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                                                  /s/Kasey K. Murray________________
                                                  Kasey K. Murray
